          Case 1:18-cv-00339-TSC Document 13 Filed 11/14/18 Page 1 of 2



                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

______________________________________________________________________
IN RE:                             )
                                   )
THE YELLOW LINE CASES              )
                                   )
                                   )     15-mc-989-TSC-GMH
THIS DOCUMENT RELATES TO:          )
                                   )
Brittiney Cobb v. WMATA            )
(15-cv-226-TSC-GMH)                )
______________________________________________________________________

                                       SUGGESTION OF DEATH

        Undersigned Plaintiff’s counsel hereby notifies the Court1 and parties that the Plaintiff,

Brittiney Cobb, passed away on September 2, 2018. A personal representative is in the

process of being appointed for the estate and an appropriate substitution of parties will be

filed as soon as the personal representative is formally appointed.



                                                           Respectfully submitted,

                                                           /s/ Darlene C. Jackson________
                                                           Darlene C. Jackson
                                                           Bar No: 445931
                                                           1220 L Street, N.W., Suite 100
                                                           Washington, D.C. 20005
                                                           202-779-6473
                                                           E-mail: ​attydcj@aol.com
                                                           Counsel for Plaintiff


1
  “[i]t seems quite basic and reasonable that a plaintiff’s attorney who receives notification of the
defendant’s death has the responsibility to promptly initiate the necessary inquiries to determine the
identity of a person to be substituted for the deceased defendant, and to file a motion for substitution in
accordance with our Rules of Civil Procedure”. ​Brown v. Wheeler,​ 437 So. 2d 521 (1983)​; citing
Farmers Insurance Group v.​ D     ​ istrict Court of the Second Judicial District​,​ 181 Colo. 85, 507 P.2d
865 (1973); M ​ ullis v. Bone,​ 143 Ga.App. 407, 238 S.E. 748 (Ct.App.1977); ​King v.Tyree’s of Tampa,
Inc.,​ 315 So.2d 538 (Fla.Dist.Ct. App. 1975).​
          Case 1:18-cv-00339-TSC Document 13 Filed 11/14/18 Page 2 of 2




                                   CERTIFICATE OF SERVICE




       I certify that a true copy and correct copy was filed electronically with the Clerk of the
Court to be served by operation of the Court’s electronic filing system upon counsels for the
defendant, this 14th day of November, 2018.




                                              _______________/s/________________
                                              Darlene C. Jackson
                                              Counsel for the Plaintiff
